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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                 Plaintiffs,                    )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )
                                                )
                                                )
PARKER BEDNASEK,
                                                )
                 Plaintiff,                     )
                                                )        Case No. 15-9300-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )
                                                )



                     PLAINTIFFS’ JOINT RESPONSE TO THE
                DEFENDANT’S MOTION FOR AN EXTENSION OF TIME

       Plaintiffs in the above-captioned matters respectfully submit this joint response to the

Defendant’s motion for an extension of time within which to file responses to Plaintiffs’

respective motions for attorneys’ fees and costs. Doc. 236 in Bednasek, case No. 15-cv-9300;

and Doc. 581 in Fish, case No. 16-cv-2105.

       Defendant asks this Court to extend his deadline to respond to Plaintiffs’ motions from

February 11 to March 29, an extension of 46 days—or a total of 61 days to oppose Plaintiffs’

motions. Although Defendant asserts that Plaintiffs’ counsel object to his request, Plaintiffs’
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counsel have made clear in correspondence that they do not object to a reasonable extension for

Defendant of up to two weeks. See Ex. E, Email from Johnson to Parker, Feb. 10, 2021. But, for

several reasons, Plaintiffs respectfully oppose Defendant’s request for a 46-day extension.

        First, a period of 61 days is unnecessary to respond to what are straightforward fee

motions. Plaintiffs’ entitlement to fees is indisputably clear given their total victory. There are

no complex legal issues presented. And Plaintiffs’ requests for fees are consistent with what

courts have awarded or approved in similar voting rights litigation. See Doc. 582 in Fish and

Doc. 237 in Bednasek.

        Second, Defendant’s conduct has been dilatory. Over the last six weeks, Plaintiffs’

counsel have engaged in repeated good-faith efforts to initiate the process of consultation

regarding their fee motions. But Defendant’s counsel have been wholly uncooperative. After

weeks of evasion, Defendant’s counsel finally agreed to confer on February 8; but on that date,

they attempted to cancel the conference; and even now, they refuse to agree on a firm date by

which they will confer with Plaintiffs’ counsel regarding Plaintiffs’ fee motions.

    •   On December 29, 2020, counsel for Plaintiff Bednasek contacted Defendant’s counsel to
        initiate the process of consultation, in hopes of resolving this issue without further
        litigation. See Ex. A, Email from Johnson to Laue, Dec. 29, 2020. Over the next sixteen
        days, Plaintiffs’ counsel repeatedly attempted to schedule a time to confer with
        Defendant’s counsel, who repeatedly evaded committing to a specific time and date for a
        conference. 1




1
 See Ex. A, Email from Laue to Johnson, Dec. 31, 2020 (stating that Defendant’s counsel “will
be in touch next week”); Emails from Johnson to Laue, Jan. 5 and Jan. 7, 2021 (repeatedly
offering several times over the next week); Email from Laue to Johnson, Jan. 8, 2021 (stating
“[s]omeone should be in touch with you soon on these matters,” without accepting any of times
to confer offered by Plaintiffs’ counsel); Emails between Johnson and Laue, Jan. 14, 2021
(Defendant’s counsel identifying Stanley Parker as the appropriate contact person for this matter;
Plaintiff Bednasek’s counsel requesting that Mr. Parker agree to a time to meet, and noting that
Plaintiffs’ fee motions were due in about two weeks).
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   •   On January 15 (more than two weeks later), Defendant’s counsel finally stated that they
       would not meet-and-confer with Plaintiffs until receiving Plaintiffs’ “request and all
       supporting documentation.” See Ex. B, Email from Parker to Johnson, Jan. 15, 2021.

   •   The parties then agreed that Plaintiffs would file their motions by the requisite deadline
       of January 28, thereby providing Defendant’s counsel with the requested documentation,
       followed by a consultation between the parties on February 8. See Ex. C, Parker and
       Johnson Emails, Jan. 20, 2021. Plaintiffs relied on that agreement in filing their motions.

   •   On the morning of February 8, however, Defendant’s counsel attempted to cancel the
       conference, and to extend Defendant’s time to oppose Plaintiffs’ fee motions to March
       30. See Ex. D, Email from Parker to Johnson, Feb. 8, 2021. Counsel eventually met on
       that day, but Defendant’s counsel was unable to meaningfully confer regarding the
       substance of Plaintiffs’ fee motions, or even to offer a date certain by which Defendant’s
       counsel would be able to do so.

   •   On February 9, Defendant’s counsel subsequently represented that they “do not expect to
       be [able to review Plaintiffs’ motions] before the end of the month,” and, once again, did
       not offer a date certain by which they would be able to confer meaningfully regarding
       Plaintiffs’ motions. See Ex. E, Email from Parker to Johnson, Feb. 9, 2021.

   •   Plaintiff Bednasek’s counsel responded by offering a two-week extension for
       Defendant’s oppositions; requesting that Defendant’s counsel agree to a conference by no
       later than February 19; and indicating a willingness to consider a further extension if the
       parties make progress towards amicable resolution of this dispute. See Ex. E, Email from
       Johnson to Parker, Feb. 10, 2021.

Defendant’s counsel declined. Instead, on the day that Defendant’s oppositions to Plaintiffs’ fee

motions were due, they filed this belated request to extend their time to respond by 46 days. It is

clear that Defendant’s counsel have not made a good-faith effort to review Plaintiffs’ motions to

facilitate a meaningful conference between the parties in a timely manner. Defendant’s motion

should be denied for that reason alone.

       In sum, these cases were filed in 2015 and 2016, respectively. They have dragged on for

long enough. Plaintiffs therefore request that Defendant’s motion be denied in part and that any

extension granted to Defendant not exceed fourteen days, such that Defendant’s oppositions

would be due by February 25.
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DATED this 12th day of February, 2021.

Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of February, 2021, I electronically filed the above and

foregoing document using the CM/ECF system, which automatically causes notice and a copy of

this filing to be sent to all counsel of record.


                                                      /s/Sharon Brett
                                                      Sharon Brett
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